









Dismissed and Opinion filed July 3, 2002









Dismissed and Opinion filed July 3, 2002.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

_________________

&nbsp;

NO. 14-02-00417-CV

____________

&nbsp;

LLOYD ROBERTS, Appellant

&nbsp;

V.

&nbsp;

SANDRA HOLCOMBE, Appellee

&nbsp;



&nbsp;

On
Appeal from the County Civil Court at Law No. 4

Harris
County, Texas

Trial
Court Cause No. 743,524

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment
signed April 4, 2002.&nbsp; 

On June 26, 2002, appellant filed a
motion to dismiss because he no longer desires to prosecute the appeal.&nbsp; See Tex.
R. App. P. 42.1.&nbsp; The motion is
granted. 

Accordingly, the appeal is ordered
dismissed.&nbsp; 

&nbsp;

PER CURIAM

Judgment rendered and Opinion filed July 3, 2002.

Panel consists of Justices Hudson, Fowler, and
Edelman. 

Do Not Publish C Tex. R. App. P. 47.3(b).





